4:05-cr-03025-RGK-DLP   Doc # 51   Filed: 05/09/05   Page 1 of 1 - Page ID # 102


                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )           4:05CR3025
                                     )
     v.                              )      REPORT, RECOMMENDATION
                                     )              AND
SOKHA KEO,                           )             ORDER
                                     )
     Defendant.                      )


     At the conclusion of the hearing this date on defendant
Keo’s motion to suppress evidence, I stated my conclusions on the
record and my decision to recommend that the motion to suppress
be denied.   In accordance with that announcement,


     IT HEREBY IS RECOMMENDED to the Honorable Richard G. Kopf,
United States District Judge, that the motion to suppress, filing
29, be denied in all respects.


     FURTHER, IT HEREBY IS ORDERED,

     1. The clerk shall cause an expedited transcript of the
hearing to be prepared and filed.

     2. Counsel are given ten days from the date the transcript
is available to counsel for reading in the clerk’s office in
which to file objections to this recommendation. The parties are
notified that failure to object may be held to be a waiver of the
right to appeal the district judge’s adoption of the
recommendation.

     Dated May 9, 2005.
                                   BY THE COURT


                                   s/    David L. Piester
                                   United States Magistrate Judge
